Case 6:20-cv-06006-RTD Document 2             Filed 01/23/20 Page 1 of 18 PageID #: 2




                   IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF ARKANSAS
                           HOT SPRINGS DIVISION


 ANGEL EPLEY, Individually and on                                         PLAINTIFF
 Behalf of All Others Similarly Situated


 vs.                            No. 6:20-cv-6006-RTD

 STARTEK USA, INC.                                                      DEFENDANT


                 ORIGINAL COMPLAINT—COLLECTIVE ACTION


        COMES NOW Angel Epley (“Plaintiff”), individually and on behalf of all

 others similarly situated, by and through her attorneys Lydia H. Hamlet and Josh

 Sanford of Sanford Law Firm, PLLC, and for her Original Complaint–Collective

 Action against Defendant Startek USA, Inc. (“Defendant”), she does hereby state

 and allege as follows:

                               I.      INTRODUCTION

        1.     This is a collective action bought by Plaintiff, individually and on

 behalf of other customer service agents employed by Defendant at any time

 within a three-year period preceding the filing hereof.

        2.     Plaintiff, on behalf of herself and all others similarly situated, bring

 this action under the Fair Labor Standards Act, 29 U.S.C. § 201, et seq.

 (“FLSA”), the Arkansas Minimum Wage Act, Ark. Code Ann. § 11-4-201, et seq.

 (the “AMWA”), and Ark. Code Ann. § 11-4-405 for declaratory judgment,

 monetary damages, liquidated damages, prejudgment interest, and costs,

 including reasonable attorneys’ fees, as a result of Defendant’s failure to pay
                                        Page 1 of 18
                           Angel Epley, et al. v. Startek USA, Inc.
                       U.S.D.C. (W.D. Ark.) Case No. 6:20-cv-6006-RTD
                           Original Complaint—Collective Action
Case 6:20-cv-06006-RTD Document 2              Filed 01/23/20 Page 2 of 18 PageID #: 3



 Plaintiff and all others similarly situated overtime compensation for all hours that

 Plaintiff and all others similarly situated worked in excess of forty (40) per

 workweek.

                                 II.     JURISDICTION

        3.      The United States District Court for the Eastern District of Arkansas

 has subject matter jurisdiction over this suit under the provisions of 28 U.S.C. §

 1331 because this suit raises federal questions under the FLSA.

        4.      This Complaint also alleges AMWA violations and violation of Ark.

 Code Ann. § 11-4-405, which arise out of the same set of operative facts as the

 federal cause of action; accordingly, this Court has supplemental jurisdiction over

 Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367(a).

        5.      Defendant conducts business within and throughout the State of

 Arkansas, operating and managing a telephone call center in Hot Springs,

 among other enterprises and other call center locations.

        6.      Venue lies properly within this Court under 28 U.S.C. § 1391(b)(1)

 and (c)(2), because the State of Arkansas has personal jurisdiction over

 Defendant, and Defendant therefore “resides” in Arkansas.

        7.      The acts alleged in this Complaint had their principal effect within

 the Hot Springs Division of the Western District of Arkansas, and venue is proper

 in this Court pursuant to 28 U.S.C. § 1391.

                                  III.    THE PARTIES

        8.      Plaintiff repeats and re-alleges all the preceding paragraphs of this

 Complaint as if fully set forth in this section.

                                         Page 2 of 18
                            Angel Epley, et al. v. Startek USA, Inc.
                        U.S.D.C. (W.D. Ark.) Case No. 6:20-cv-6006-RTD
                            Original Complaint—Collective Action
Case 6:20-cv-06006-RTD Document 2             Filed 01/23/20 Page 3 of 18 PageID #: 4



         9.    Plaintiff is an individual and resident and domiciliary of the State of

 Arkansas.

         10.   At all times material herein, Plaintiff and all others similarly situated

 have been entitled to the rights, protections and benefits provided under the

 FLSA.

         11.   At all times material herein, Plaintiff and all others similarly situated

 were classified by Defendant as non-exempt from the overtime requirements of

 the FLSA when they worked as customer service agents.

         12.   Defendant is an “employer” within the meanings set forth in the

 FLSA and was, at all times relevant to the allegations in this Complaint, Plaintiff’s

 employer.

         13.   Defendant is a Colorado corporation licensed to conduct business

 in Arkansas, providing its clients with customer contact management services

 and operating, among other places, a customer service call center located in Hot

 Springs.

         14.   Defendant employs no fewer than three hundred (300) hourly-paid

 employees at its Hot Springs location.

         15.   Within the three years preceding the filing of this Complaint,

 Defendant has continuously employed at least four employees.

         16.   Defendant has at least two employees engaged in commerce or in

 the production of goods for commerce, or handling, selling, or otherwise working

 on goods or materials that have been moved in or produced for commerce.




                                        Page 3 of 18
                           Angel Epley, et al. v. Startek USA, Inc.
                       U.S.D.C. (W.D. Ark.) Case No. 6:20-cv-6006-RTD
                           Original Complaint—Collective Action
Case 6:20-cv-06006-RTD Document 2              Filed 01/23/20 Page 4 of 18 PageID #: 5



        17.     Defendant’s annual gross volume of sales made or business done

 is not less than $500,000.00 (exclusive of excise taxes at the retail level that are

 separately stated) in each of the three years preceding the filing of the Original

 Complaint.

        18.    Defendant’s registered agent for service of process for the state of

 Arkansas is CT Corporation System, at 124 West Capitol Avenue, Suite 1900,

 Little Rock, Arkansas 72201.

                          IV.     FACTUAL ALLEGATIONS

        19.    Plaintiff repeats and re-alleges all previous paragraphs of this

 Complaint as though fully incorporated in this section.

        20.    At all relevant times herein, Defendant was the “employer” of

 Plaintiff and all others similarly situated within the meaning of the FLSA.

        21.    During the period relevant to this lawsuit, Plaintiff worked at

 Defendant’s call center in Hot Springs as a customer service agent.

        22.    At all relevant times herein, Defendant directly hired Plaintiff and all

 others similarly situated to work in Defendant’s customer service call center(s),

 paid them wages and benefits, controlled their work schedules, duties, protocols,

 applications, assignments and employment conditions, and kept at least some

 records regarding their employment.

        23.    Defendant knew or showed reckless disregard for whether the way

 it paid Plaintiff and all others similarly situated violated the FLSA.




                                         Page 4 of 18
                            Angel Epley, et al. v. Startek USA, Inc.
                        U.S.D.C. (W.D. Ark.) Case No. 6:20-cv-6006-RTD
                            Original Complaint—Collective Action
Case 6:20-cv-06006-RTD Document 2             Filed 01/23/20 Page 5 of 18 PageID #: 6



       24.    Plaintiff and other customer service agents were classified by

 Defendant as non-exempt under the FLSA and were paid an hourly rate plus an

 overtime premium for all hours worked over forty in a workweek.

       25.    At all relevant times herein, Defendant failed to accurately record all

 of the time worked off the clock by Plaintiff and the other customer service agents

 and failed to properly compensate all of the off-the-clock hours.

       26.    At all relevant times herein pursuant to Defendant’s common

 practice, Plaintiff and all others similarly situated were required to work off the

 clock, including but not limited to reporting to work, preparing to take customer

 calls, completing paperwork and performing general office project tasks and

 maintenance.

       27.    Further, Defendant had a policy of requiring its customer service

 agents to log out of the time recording system for system maintenance. If

 customer service agents were unable to take or place calls due to a system error,

 Defendant required the customer service agents to log out until the system was

 repaired, but required the customer service agents to remain on site.

       28.    This clocking out requirement resulted in Plaintiff and other

 customer service agents not being paid for all hours worked, and even if Plaintiff

 and those similarly situated were not talking on the phone for a period of time,

 they were still engaged in work for Defendant including but not limited to filling

 out information in the software systems, tracking data, and conversing with

 managers to convey important client queries.




                                        Page 5 of 18
                           Angel Epley, et al. v. Startek USA, Inc.
                       U.S.D.C. (W.D. Ark.) Case No. 6:20-cv-6006-RTD
                           Original Complaint—Collective Action
Case 6:20-cv-06006-RTD Document 2             Filed 01/23/20 Page 6 of 18 PageID #: 7



        29.    Work performed by Plaintiff and other customer service agents prior

 to receiving pay included presenting themselves for work approximately fifteen

 (15) minutes prior to their scheduled shift start times in order to have sufficient

 time to log in to Defendant’s computer system and open all operating systems

 and programs necessary to take the first customer call when the designated shift

 time began, as well as spending time asking and answering questions with

 agents.

        30.    This required pre-shift off-the-clock work occurred on a daily basis.

        31.    Even though the process of logging in and starting up Defendant’s

 systems took as much as fifteen minutes, Defendant specifically instructed

 Plaintiff not to submit that time for payment.

        32.    In addition, at least two to three times each week, Plaintiff and other

 customer service agents were on customer service phone calls at the time their

 shifts ended. Plaintiff and other customer service agents were not compensated

 for their time spent on the phone after their shifts ended. Following the final calls,

 Plaintiff would have to complete administrative tasks related to the calls such as

 noting the calls and sending messages about the calls, in addition to the daily

 shutting down process described above. This entire process could take as much

 as fifteen minutes.

        33.    In addition, Plaintiff and other customer service agents were

 frequently clocked out while working due to malfunctions in Defendant’s

 programs. Defendant frequently refused to adjust Plaintiff and other customer




                                        Page 6 of 18
                           Angel Epley, et al. v. Startek USA, Inc.
                       U.S.D.C. (W.D. Ark.) Case No. 6:20-cv-6006-RTD
                           Original Complaint—Collective Action
Case 6:20-cv-06006-RTD Document 2              Filed 01/23/20 Page 7 of 18 PageID #: 8



 service agents’ recorded hours to account for the hours that went unrecorded

 due to the malfunction.

        34.    The pre-shift and post-shift worked described above was in addition

 to the recorded hours of work performed by Plaintiff and other customer service

 agents during their regularly-scheduled shifts.

        35.    Plaintiff was also regularly required to perform training for groups of

 Defendant’s employees. These trainings took up to five hours each, but Plaintiff

 was not compensated for the hours she spent training other employees.

        36.    As such, there was a disparity between Defendant’s records and

 Plaintiff’s actual hours worked.

        37.    In addition to their hourly rate, Plaintiff and similarly situated

 customer service agents periodically received nondiscretionary bonuses.

        38.    Plaintiff and similarly situated employees received bonuses if they

 met certain objective requirements such as completing a certain number of

 customer calls.

        39.    These nondiscretionary bonuses were a form of compensation to

 Plaintiff and similarly situated employees.

        40.    During weeks in which Plaintiff and similarly situated customer

 service agents worked over forty (40) hours, Defendant paid an improper

 overtime rate because Defendant determined the regular rate of pay solely based

 on employees’ hourly rate, without including the value of the nondiscretionary

 bonuses that Defendant provided to Cooper and similarly situated employees.




                                        Page 7 of 18
                           Angel Epley, et al. v. Startek USA, Inc.
                       U.S.D.C. (W.D. Ark.) Case No. 6:20-cv-6006-RTD
                           Original Complaint—Collective Action
Case 6:20-cv-06006-RTD Document 2             Filed 01/23/20 Page 8 of 18 PageID #: 9



        41.    Section 778.208 of Title 29 of the Code of Federal Regulations

 requires that all forms of compensation, such as nondiscretionary bonuses, “must

 be totaled in with other earnings to determine the regular rate on which overtime

 pay must be based.”

        42.    Therefore, Defendant violated the FLSA by not including all forms

 of compensation, such as the nondiscretionary bonus, in the regular rate when

 calculating Plaintiff’s and similarly situated employees’ overtime pay.

        43.    Finally, Defendant frequently and illegally deducted portions of

 Plaintiff’s paycheck to pay for gift cards and other amenities for other employees.

 Defendant failed to reimburse Plaintiff for these deductions.

        44.    As a direct result of Defendant’s policies, even though Plaintiff and

 other customer service agents worked more than forty (40) hours in many weeks

 that they worked for Defendant during time period relevant to this Complaint, they

 were not compensated for all of their overtime hours worked.

        45.    At all relevant times herein, Defendant has deprived Plaintiff and

 other customer service agents of regular wages and overtime compensation for

 all of the hours over forty (40) per week.

        46.    In all, Plaintiff and other customer service agents worked up to

 fifteen (15) hours of overtime each week for Defendant for which they were not

 properly compensated.

        47.    Defendant terminated Plaintiff’s employment in December of 2019.




                                        Page 8 of 18
                           Angel Epley, et al. v. Startek USA, Inc.
                       U.S.D.C. (W.D. Ark.) Case No. 6:20-cv-6006-RTD
                           Original Complaint—Collective Action
Case 6:20-cv-06006-RTD Document 2              Filed 01/23/20 Page 9 of 18 PageID #: 10



        48.    Plaintiff did not receive her final paycheck, or did not receive all the

 funds owed to her in her final paycheck. To date, Plaintiff has not received the full

 amount of her final paycheck.

                V.     REPRESENTATIVE ACTION ALLEGATIONS

        49.    Plaintiff repeats and re-alleges all previous paragraphs of this

 Complaint as though fully incorporated in this section.

        50.    Plaintiff brings her claims for relief for violation of the FLSA as a

 collective action pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b), on

 behalf of all persons who were, are, or will be employed by Defendant as

 similarly situated customer service agents at any time within the applicable

 statute of limitations period, who are entitled to payment of the following types of

 damages:

        A.     Overtime premiums for all hours worked for Defendant in excess of

 forty (40) hours in any week;

        B.     Liquidated damages; and

        C.     The costs of this action, including attorney’s fees.

        51.    Plaintiff proposes the following collective under the FLSA:

        All hourly-paid customer service agents or similar positions
     who worked at least 39 hours in any week, or who received a bonus
     in connection with work performed during any week in which they
              worked at least 39 hours, in the past three years.

        52.    In conformity with the requirements of FLSA Section 16(b), Plaintiff

 has filed or will file a Consent to Join this lawsuit.

        53.    The relevant time period dates back three years from the date on

 which Plaintiff’s Original Complaint—Collective Action was filed herein and
                                         Page 9 of 18
                            Angel Epley, et al. v. Startek USA, Inc.
                        U.S.D.C. (W.D. Ark.) Case No. 6:20-cv-6006-RTD
                            Original Complaint—Collective Action
Case 6:20-cv-06006-RTD Document 2             Filed 01/23/20 Page 10 of 18 PageID #: 11



  continues forward through the date of judgment pursuant to 29 U.S.C. § 255(a),

  except as set forth herein below.

         54.    The proposed collective of opt-in plaintiffs in this case is defined as

  all persons who meet the following requirements:

         A.     They were employed by Defendant as an hourly-paid customer

  service agent;

         B.     They received       non-discretionary bonuses as part of their

  compensation plan; and

         C.     They were required to perform work off the clock and denied the

  proper overtime compensation in violation of the FLSA, 29 U.S.C. § 201 et seq.

         55.    The proposed FLSA collective members who worked as customer

  service agents are similarly situated in that they share these traits:

         A.     They were classified by Defendant as non-exempt from the

  minimum wage and overtime requirements of the FLSA when working as a

  customer service agent;

         B.     They performed the same or similar job duties;

         C.     They recorded their time in the same manner;

         D.     They were subject to Defendant’s common practice requiring

  customer service agents to perform pre-shift, non-call time and post-shift work for

  which they were not paid;

         E.     They received       non-discretionary bonuses as part of their

  compensation plan, which was not included in their regular rates when their

  overtime premiums were calculated; and

                                         Page 10 of 18
                            Angel Epley, et al. v. Startek USA, Inc.
                        U.S.D.C. (W.D. Ark.) Case No. 6:20-cv-6006-RTD
                            Original Complaint—Collective Action
Case 6:20-cv-06006-RTD Document 2              Filed 01/23/20 Page 11 of 18 PageID #: 12



         F.     They were subject to Defendant’s common practice of paying

  customer service agents according to their working hours recorded by

  Defendant’s time clock and/or allowed by Defendant rather than their hours

  actually worked.

         56.    Plaintiff is unable to state the exact number of the collective but

  believe that the collective is not less than three hundred (300) persons.

         57.    Defendant can readily identify the members of the Section 16(b)

  collective, which encompasses all customer service agents.

         58.    The names and physical and mailing addresses of the FLSA

  collective action plaintiffs are available from Defendant, and a Court-approved

  Notice should be provided to the FLSA collective action plaintiffs via text

  message, first class mail or email to their last known physical and electronic

  mailing addresses as soon as possible, together with other documents and

  information descriptive of Plaintiff’s FLSA claims, and posting at the facility.

                          VI.   FIRST CLAIM FOR RELIEF
                     (Individual Claim for Violation of the FLSA)

         59.    Plaintiff repeats and re-alleges all previous paragraphs of this

  Complaint as though fully incorporated in this section.

         60.    Plaintiff asserts this claim for damages and declaratory relief

  pursuant to the FLSA, 29 U.S.C. § 201, et seq.

         61.    At all relevant times, Defendant has been, and continues to be,

  Plaintiff’s “employer” within the meaning of the FLSA, 29 U.S.C. § 203.




                                          Page 11 of 18
                             Angel Epley, et al. v. Startek USA, Inc.
                         U.S.D.C. (W.D. Ark.) Case No. 6:20-cv-6006-RTD
                             Original Complaint—Collective Action
Case 6:20-cv-06006-RTD Document 2            Filed 01/23/20 Page 12 of 18 PageID #: 13



         62.   At all relevant times, Defendant has been, and continues to be, an

  enterprise engaged in commerce within the meaning of the FLSA, 29 U.S.C. §

  203.

         63.   29 U.S.C. §§ 206 and 207 require any enterprise engaged in

  commerce to pay all employees a minimum wage for all hours worked up to forty

  (40) in one week and to pay one and one-half times (1.5) regular wages for all

  hours worked over forty (40) hours in a week, unless an employee meets certain

  exemption requirements of 29 U.S.C. § 213 and all accompanying Department of

  Labor regulations.

         64.   Defendant classified Plaintiff as non-exempt from the overtime

  requirements of the FLSA when Plaintiff worked as a customer service agent.

         65.   Defendant violated 29 U.S.C. § 207 by not paying Plaintiff a proper

  overtime rate of compensation for all hours worked in excess of forty (40) per

  workweek.

         66.   Defendant violated Section 778.208 of Title 29 of the Code of

  Federal Regulations by not including all forms of compensation, including

  nondiscretionary bonuses, for Plaintiff in her regular rate when calculating her

  overtime pay.

         67.   Despite the entitlement of Plaintiff to minimum wage and overtime

  payments under the FLSA, Defendant failed to pay Plaintiff for all hours worked,

  including an overtime rate of one and one-half (1.5) times her regular rate of pay

  for all hours worked over forty (40) in each one-week period.




                                        Page 12 of 18
                           Angel Epley, et al. v. Startek USA, Inc.
                       U.S.D.C. (W.D. Ark.) Case No. 6:20-cv-6006-RTD
                           Original Complaint—Collective Action
Case 6:20-cv-06006-RTD Document 2              Filed 01/23/20 Page 13 of 18 PageID #: 14



         68.    Defendant failed to pay Plaintiff minimum wage during her final pay

  period.

         69.    Defendant’s failure to pay Plaintiff all wages owed was willful.

         70.    By reason of the unlawful acts alleged herein, Defendant is liable to

  Plaintiff for monetary damages, liquidated damages, and costs, including

  reasonable attorneys’ fees, for all violations that occurred within the three (3)

  years prior to the filing of this Complaint.

                        VII. SECOND CLAIM FOR RELIEF
                 (Collective Action Claim for Violation of the FLSA)

         71.    Plaintiff repeats and re-alleges all previous paragraphs of this

  Complaint as though fully incorporated in this section.

         72.    Plaintiff, individually and on behalf of all others similarly situated,

  asserts this claim for damages pursuant to the FLSA, 29 U.S.C. § 201, et seq.

         73.    At all relevant times, Defendant has been, and continues to be, an

  “employer” of Plaintiff and all others similarly situated within the meaning of the

  FLSA, 29 U.S.C. § 203.

         74.    Defendant classified Plaintiff and all others similarly situated as

  non-exempt from the overtime requirements of the FLSA when they worked as

  hourly-paid customer service agents for Defendant.

         75.    29 U.S.C. § 207 requires employers to pay employees one and

  one-half (1.5) times the employee’s regular rate for all hours that the employee

  works in excess of forty (40) per week.

         76.    Defendant violated Section 778.208 of Title 29 of the Code of

  Federal Regulations by not including all forms of compensation, such as
                                          Page 13 of 18
                             Angel Epley, et al. v. Startek USA, Inc.
                         U.S.D.C. (W.D. Ark.) Case No. 6:20-cv-6006-RTD
                             Original Complaint—Collective Action
Case 6:20-cv-06006-RTD Document 2              Filed 01/23/20 Page 14 of 18 PageID #: 15



  nondiscretionary bonuses, given to Plaintiff and those similarly situated in their

  regular rate when calculating their overtime pay.

         77.    Upon information and belief, Plaintiff and all or almost all hourly-

  paid employees who received nondiscretionary bonuses regularly worked more

  than forty (40) hours in a week.

         78.    Upon information and belief, Defendant failed to pay these workers

  at the proper overtime rate.

         79.    Despite the entitlement of Plaintiff and the others to minimum wage

  and overtime payments under the FLSA, Defendant failed to pay Plaintiff and the

  others for all hours worked, including an overtime rate of 1.5 times their regular

  rates of pay for all hours worked over forty (40) in each one-week period.

         80.    Because these employees are similarly situated to Plaintiff, and are

  owed wages for the same reasons, the proposed collective is properly defined as

  follows:

         All hourly-paid customer service agents or similar positions
      who worked at least 39 hours in any week, or who received a bonus
      in connection with work performed during any week in which they
               worked at least 39 hours, in the past three years.

         81.    Defendant willfully failed to pay all wages to Plaintiff and all others

  similarly situated.

         82.    By reason of the unlawful acts alleged herein, Defendant is liable to

  Plaintiff and the others for monetary damages, liquidated damages, and costs,

  including reasonable attorneys’ fees, for all violations that occurred within the

  three (3) years prior to the filing of Original Complaint.


                                          Page 14 of 18
                             Angel Epley, et al. v. Startek USA, Inc.
                         U.S.D.C. (W.D. Ark.) Case No. 6:20-cv-6006-RTD
                             Original Complaint—Collective Action
Case 6:20-cv-06006-RTD Document 2             Filed 01/23/20 Page 15 of 18 PageID #: 16




                         VIII. THIRD CAUSE OF ACTION
                    (Individual Claim for Violations of AMWA)

        83.    Plaintiff repeats and re-alleges all previous paragraphs of this

  Complaint as though fully incorporated in this section.

        84.    Plaintiff asserts these claims for damages and declaratory relief

  pursuant to the AMWA, Ark. Code Ann. § 11-4-201, et seq.

        85.    At all times relevant to this Complaint, Defendant was Plaintiff’s

  “employer” within the meaning of the AMWA, Ark. Code Ann. § 11-4-203(4).

        86.    Arkansas Code Annotated §§ 11-4-210 and 211 require employers

  to pay all employees a minimum wage for all hours worked up to forty in one

  week and to pay one and one-half times regular wages for all hours worked over

  forty hours in a week, unless an employee meets the exemption requirements of

  29 U.S.C. § 213 and accompanying Department of Labor regulations.

        87.    At all times relevant to this Complaint, Defendant failed to pay

  Plaintiff a proper overtime premium as required under the AMWA.

        88.    Despite the entitlement of Plaintiff to overtime payments under the

  AMWA, Defendant failed to pay Plaintiff an overtime rate of one and one-half

  times her regular rate of pay for all hours worked over forty (40) in each week.

        89.    Defendant’s failure to pay proper overtime wages was willful.

        90.    Defendant failed to pay Plaintiff a minimum wage during her final

  period.

        91.    By reason of the unlawful acts alleged herein, Defendant is liable to

  Plaintiff for monetary damages, liquidated damages, and costs, including
                                         Page 15 of 18
                            Angel Epley, et al. v. Startek USA, Inc.
                        U.S.D.C. (W.D. Ark.) Case No. 6:20-cv-6006-RTD
                            Original Complaint—Collective Action
Case 6:20-cv-06006-RTD Document 2             Filed 01/23/20 Page 16 of 18 PageID #: 17



  reasonable attorneys’ fees, for all violations that occurred within the 3 years prior

  to the filing of this Complaint pursuant to Ark. Code Ann. § 11-4-218.

                        IX.   FOURTH CAUSE OF ACTION
           (Individual Claim for Violation of Ark. Code Ann. § 11-4-405)

         92.    Plaintiff repeats and re-alleges all previous paragraphs of this

  Complaint as though fully set forth herein.

         93.    Plaintiff asserts this claim for damages and declaratory relief

  pursuant to Ark. Code Ann. § 11-4-405.

         94.    At all relevant times, Defendant was Plaintiff’s employer for

  purposes of Ark. Code Ann. § 11-4-405.

         95.    Ark. Code Ann. § 11-4-405 requires employers to pay all wages

  due to a discharged employee by the next regular payday.

         96.    Defendant discharged Plaintiff but failed to pay Plaintiff all wages

  due to her within the requisite time period.

         97.    By reason of the unlawful acts alleged herein, Defendant is liable to

  Plaintiff for, and Plaintiff seeks, monetary damages, liquidated damages,

  prejudgment interest, and costs, including reasonable attorney’s fees.

                            X.      PRAYER FOR RELIEF

         WHEREFORE, premises considered, Plaintiff Angel Epley, individually

  and on behalf of all others similarly situated, respectfully prays that Defendant be

  summoned to appear and answer herein and for declaratory relief and damages

  as follows:




                                         Page 16 of 18
                            Angel Epley, et al. v. Startek USA, Inc.
                        U.S.D.C. (W.D. Ark.) Case No. 6:20-cv-6006-RTD
                            Original Complaint—Collective Action
Case 6:20-cv-06006-RTD Document 2             Filed 01/23/20 Page 17 of 18 PageID #: 18



          A.    That Defendant be required to account to Plaintiff, the collective

  members, and the Court for all of the hours worked by Plaintiff and the collective

  members and all monies paid to them;

          B.    A declaratory judgment that Defendant’s practices alleged herein

  violate the FLSA and attendant regulations at 29 C.F.R. § 516, et seq.;

          C.    Certification of, and proper notice to, together with an opportunity to

  participate in the litigation, all qualifying current and former employees;

          D.    Judgment for damages for all unpaid minimum wage and overtime

  compensation under the FLSA and attendant regulations at 29 C.F.R. § 516, et

  seq.;

          E.    Judgment for liquidated damages pursuant to the FLSA and

  attendant regulations at 29 C.F.R. § 516, et seq., in an amount equal to all

  unpaid minimum wages and overtime compensation owed to Plaintiff and the

  collective members during the applicable statutory period;

          F.    An order directing Defendant to pay Plaintiff and collective

  members pre-judgment interest, reasonable attorney’s fees and all costs

  connected with this action; and

          G.    Such other and further relief as this Court may deem necessary,

  just and proper.




                                         Page 17 of 18
                            Angel Epley, et al. v. Startek USA, Inc.
                        U.S.D.C. (W.D. Ark.) Case No. 6:20-cv-6006-RTD
                            Original Complaint—Collective Action
Case 6:20-cv-06006-RTD Document 2         Filed 01/23/20 Page 18 of 18 PageID #: 19



                                                   Respectfully submitted,

                                                   ANGEL EPLEY, Individually
                                                   and on Behalf of All Others
                                                   Similarly Situated, PLAINTIFF

                                                   SANFORD LAW FIRM, PLLC
                                                   ONE FINANCIAL CENTER
                                                   650 SOUTH SHACKLEFORD, SUITE 411
                                                   LITTLE ROCK, ARKANSAS 72211
                                                   TELEPHONE: (501) 221-0088
                                                   FACSIMILE: (888) 787-2040


                                                   Lydia H. Hamlet
                                                   Ark. Bar No. 2011082
                                                   lydia@sanfordlawfirm.com


                                                   Josh Sanford
                                                   Ark. Bar No. 2001037
                                                   josh@sanfordlawfirm.com




                                     Page 18 of 18
                        Angel Epley, et al. v. Startek USA, Inc.
                    U.S.D.C. (W.D. Ark.) Case No. 6:20-cv-6006-RTD
                        Original Complaint—Collective Action
